            Case 2:02-cr-01156-SVW Document 41-2 Filed 03/06/08 Page 1 of 1 Page ID #:14
                                                                                                              CLEAR FORM
                                          UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA
                                                    WESTERN DIVISION                                 SOUTHERN DIVISION
                                                 312 North Spring Street, Room G-8                 411 West Fourth Street, Suite 1053
                                                      Los Angeles, CA 90012                           Santa Ana, CA 92701-4516
                                                       Tel: (213) 894-3535                                  (714) 338-4750

                                                                                                      EASTERN DIVISION
       SHERRI R. CARTER                                                                              3470 Twelfth Street, Room 134
      District Court Executive and                                                                       Riverside, CA 92501
             Clerk of Court                                                                                (951) 328-4450
      Enter Date Here

      Clerk, United District Court
      321 C. Clyde Atkins
      301 North Miami Avenue
      Miami, FL 33128

Re:      Transfer of Our Case No.                     2:02CR01156 SVW

         Assigned Your Case No.
         Case Title:                               USA v Richard Earl Dewey

Dear Sir/Madam:

G        Enclosed are the original and one copy of Probation Form 22, Transfer of Jurisdiction, in the above-entitled matter
         which has been approved by this court. Please present them to your court for approval.

         Upon approval, please return the original to this office and we will send you the necessary documents from our
         file. If you assign a case number at this time, please indicate same on the copy of this letter and return that also.

✘
G        Transfer of probationary jurisdiction to your district having been approved in the above-entitled matter, enclosed
         are the certified copies of: 1) indictment/information, and 2) judgment and probationary order.

         Please acknowledge receipt of these documents on the copy of this letter and return to this district.

                                                                Sincerely,

                                                                Clerk, U.S. District Court



                                                                By     E. Synagogue
                                                                     Deputy Clerk

cc:      Probation Office, Central District of California
         Probation Office, District of Origin

                                                  Acknowledgment of Receipt

Receipt is hereby acknowledged of the enclosures referred to above.

                                                                Clerk, U.S. District Court


                                                                By
Date                                                                 Deputy Clerk

CR-22 (01/01)                        TRANSMITTAL LETTER - PROBATION TRANSFER OUT
